                   CaseCase
                        2:24-cv-00166-JCM-DJA
                            2:24-cv-00166 Document
                                              Document
                                                   1-2 Filed
                                                        4 Filed
                                                             01/24/24
                                                                 01/25/24
                                                                       PagePage
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

CHROME HEARTS LLC, a Delaware Limited Liability                      )
               Company,                                              )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 2:24-cv-00166-JCM-DJA
                                                                     )
    KOZE CLUB LLC, a Nevada Limited Liability                        )
   Company; ZENA FIGUEROA, an Individual; and                        )
              DOES 1-10, inclusive,                                  )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KOZE CLUB LLC
                                           1717 S. Decatur Blvd., C-42
                                           Las Vegas, NV 89102




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: HONE LAW
                                           Eric D. Hone, NV Bar No. 8499/ehone@hone.law
                                           Leslie A. S. Godfrey, NV Bar No. 10229/lgodfrey@hone.law
                                           701 N. Green Valley Parkway, Suite 200
                                           Henderson, NV 89074
                                           Phone: 702-608-3720 / Fax: 702-608-7814

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
               1/25/2024                                                                   Signature of Clerk or Deputy Clerk
                    CaseCase
                         2:24-cv-00166-JCM-DJA
                             2:24-cv-00166 Document
                                               Document
                                                    1-2 Filed
                                                         4 Filed
                                                              01/24/24
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                   CaseCase
                        2:24-cv-00166-JCM-DJA
                            2:24-cv-00166 Document
                                              Document
                                                   1-3 Filed
                                                        4 Filed
                                                             01/24/24
                                                                 01/25/24
                                                                       PagePage
                                                                            1 of 32 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

CHROME HEARTS LLC, a Delaware Limited Liability                      )
               Company,                                              )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 2:24-cv-00166-JCM-DJA
                                                                     )
    KOZE CLUB LLC, a Nevada Limited Liability                        )
   Company; ZENA FIGUEROA, an Individual; and                        )
              DOES 1-10, inclusive,                                  )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ZENA FIGUEROA,
                                           2121 East Warm Springs Road, Apt. 2185
                                           Las Vegas, NV 89119




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: HONE LAW
                                           Eric D. Hone, NV Bar No. 8499/ehone@hone.law
                                           Leslie A. S. Godfrey, NV Bar No. 10229/lgodfrey@hone.law
                                           701 N. Green Valley Parkway, Suite 200
                                           Henderson, NV 89074
                                           Phone: 702-608-3720 / Fax: 702-608-7814

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
               1/25/2024                                                                  Signature of Clerk or Deputy Clerk
                    CaseCase
                         2:24-cv-00166-JCM-DJA
                             2:24-cv-00166 Document
                                               Document
                                                    1-3 Filed
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                                                              01/24/24
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
